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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :        Case No. 1:21-cr-734 (JEB)
       v.                                      :
                                               :
LAWRENCE DROPKIN, JR.,                         :
                                               :
                Defendant                      :

                    DEFENDANT’S SENTENCING MEMORANDUM

       Lawrence Dropkin, Jr., by and through his attorney, Andrew Leven, Esq., respectfully

submits this sentencing memorandum in connection with the above-captioned matter. For the

reasons set forth herein, the defendant requests that this Court impose a noncustodial sentence

in this case consisting of some combination of probation/community service and/or home

detention.

The Person

       When sentencing Mr. Dropkin, the Court is considering both the offense and the person.

       We are all formed to varying degrees by our life’s experiences, which then often play a

role in the decisions that we make. Not all of Mr. Dropkin’s life experiences were bad. For

example, Larry was a successful college athlete. He was deeply loved by his mother, and by his

siblings. Mr. Dropkin is a fundamentally honest person. He had a happy (albeit at times unusually

difficult) childhood. See PSR par. 52.1 And as an adult, Mr. Dropkin has demonstrated a very

strong work ethic and sustained commitment to economic self-sufficiency. See PSR, pars. 79 –

83.

       But as an adolescent, Larry’s formative experiences were far less positive. See PSR pars.

51 - 62.       Indeed, by any objective measure they were destructive. Those stark, painful

experiences were generally corroborated by the Probation Department at PSR pars. 61 and 62. I



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       Citations are to the Draft PSR prepared 9/1/22, as a Final PSR has not yet been filed.
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know that the Court has read the PSR with great care and will not detail those very painful

experiences here. Except to say that – without putting too fine a point on it - Mr. Dropkin has been

“on his own since age 13.” PSR par. 54.2

        The circumstances of Larry Dropkin’s life do not excuse the very poor decisions he made

on January 6th. These circumstances do, however, provide some context for understanding the

person who made them.

The Offense

        Mr. Dropkin was in an excited state on January 6th. Although at pg. 3 of its Sentencing

Memorandum the Government may be suggesting otherwise, Mr. Dropkin did not come to the

Capitol with the intention of doing anything more than protesting the election results. But he

entered the Capitol of his own volition. By himself, and not as part of an organized group. Those

poor decisions have been allocuted to in open court. And Larry has learned from them.

        Since January 6th Mr. Dropkin has acknowledged the gravity of that event in at least three

important ways. First, by foregoing the defense of “invitation” into the Capitol, which was accepted

by another judge in this Court as the basis for an acquittal. Second, by Mr. Dropkin’s statements

to Probation (and, through that medium, to this Court); specifically, that

                [g]oing to the Capitol was absolutely the wrong way to protest. The

                right way is to peacefully express political views in public spaces

                where that expression is permitted. I did not do so on that day. I

                made the wrong choice and deeply regret having made it. I pleaded

                guilty because I am accountable for that choice.

PSR, par. 19.




2
         It also bears mention here that both Larry’s father and step mother were alcoholics, PSR par. 54,
and that much of Mr. Dropkin’s relatively low grade past encounters with law enforcement have, at their
root, an unhealthy relationship with alcohol. Compare PSR, pars. 54, 74 with PSR, Part B, The Defendant’s
Criminal History (passim).

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        Third, by being a witness (under oath at his plea allocution and now) to the physical

violence, property destruction, and chaos that took place on that day. See id. At a time when many

have sought to minimize January 6th for their own purposes, Larry Dropkin has made a different

decision. He has chosen to tell the truth.

The Price Already Paid

        The costs of Mr. Dropkin’s very poor choices on January 6th have been significant, and are

ongoing. He has lost friends, family relationships, job prospects, his insurance carrier, his bank,

his broker, and his Lyft account.3 Economically, the cost to Mr. Dropkin (who is 46 years old) of

being investigated, charged, and now sentenced represents substantially more than 10% of his

entire life savings, and the SBA has also rejected Larry’s application for flood relief based on the

January 6th guilty plea. Emotionally, since that day Larry Dropkin’s last thought before going to

bed, and his first thought when waking up, has often been what will happen to him as a result of

his poor choices on January 6th. See PSR, par. 71

Guidelines Analysis

        The Probation Department has calculated a total offense level of 4 (base offense of 6,

minus 2 levels for acceptance of responsibility). PSR, pars. 24 – 36. Mr. Dropkin did not object to

that calculation. The Government has, arguing for a total offense level of 8 (base offense of 10,

minus 2 levels for acceptance of responsibility), PSR, par. 24, fn3, based on the statutory elements

of one of the Class A and Class B misdemeanors to which he has pleaded.

        As the Government notes, even if their legal argument is accepted, Mr. Dropkin would

remain at a Zone A (0-6). See id. Even so, it is worth noting here that, in substance, the four

misdemeanors (two Class A and two Class B) to which Mr. Dropkin has pleaded guilty can fairly



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         In particular, following Mr. Dropkin’s guilty plea he was notified by Liberty Mutual (his auto insurer)
that they would not insure his vehicle, by Chase Bank that they would no longer maintain an account
relationship with him, and by Lyft that he could no longer access their services. Fidelity has also ended their
brokerage relationship with Mr. Dropkin. Each of these relationships was terminated based on his
participation in the events of January 6th.

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be understood as describing a single event in four different ways. As demonstrated in his plea

allocution and probation interview, Mr. Dropkin’s decision to not sign a plea agreement in this case

does not reflect an unwillingness to be held accountable. Rather, it is reflection of his discomfort

in assisting the government’s pursuit of other people – that is, others whose identity and

circumstances were unknown to him.

         We are not privy to the Government’s interactions with other similarly situated non-violent

January 6th defendants, but assume that it has mirrored those experienced by us. In particular,

we presume that many (if not all) of the individuals who pleaded guilty to a single Class B

misdemeanor pursuant to a plea agreement were told that they would otherwise be charged with

the same 4 misdemeanors to which Mr. Dropkin has pleaded guilty. If so, a statutory (as opposed

to USSG) relevant conduct analysis encompassing intent to disrupt would have been warranted

in each such case. If in those single Class B cases the Government did not press for one, then

we submit that the core sentencing goal of consistency – that is, treating similarly situated

individuals similarly – is best served by a USSG Advisory score of 4, as set forth in PSR pars. 24

– 36.4

Statutory Analysis

         Though one is advisory and the other statutory, both the USSG and 18 USC Section

3553(a) share the core purpose of treating similarly situated defendants             similarly. Under the

USSG, we see that output – Zone A, 0-6. The appropriateness of this sentencing floor (and




4
        At pages 18 and 19 of its Sentencing Memorandum, the Government also references several of
Mr. Dropkin’s prior encounters with the justice system. One of them, regarding solicitation, resulted from
an employer’s failure to obtain a permit. The description of another - as “disorderly conduct/fighting” - is
revealed in the PSR as being something of a misnomer. PSR, par. 40. There was no fighting, or hint of
physicality. See id. Rather, Mr. Dropkin did not give his name to an officer. Id. The public urination
charges cited by the Government both involved alcohol use. See PSR, pars. 39 and 41, compare to PSR,
pars. 54 (father and step mother’s alcoholism) and 74 (Larry’s misuse of alcohol began in High School) –
which is no sense excuses these episodes, but does put them in context. In terms of severity, the entirety
of Mr. Dropkin’s criminal history resulted in a “zero” criminal history score under the USSG.
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ceiling) is reinforced by the many misdemeanor sentences under Section 3553(a) imposing terms

of probation/home detention/ community service to similarly situated defendants.5

       A second core, shared objective that underlies the USSG and is explicitly required by

Section 3553(a) is proportionality, which, can reasonably understood as a foundational element

of justice. To achieve it, sentencing courts are to impose a sentence “sufficient, but not more than

necessary,” to achieve the objectives set forth below.

       It is axiomatic that every case presents its own facts and every defendant his own

circumstances. We submit that the facts and circumstances presented here should be applied as

follows:

                             To Deter Criminal Conduct by Others

       We cannot know the mindset of others, or what impact (if any) Mr. Dropkin’s sentence will

have on them. But we do know this. We live in an afactual time. As previously stated, when many

have sought to minimize January 6th for their own purposes, Larry Dropkin has made a different

decision. He has chosen to tell the truth about what he saw that day.

       It also bears emphasis here what this isn’t. This is not a theft case, in which the threat of

imprisonment is what may prevent others who have not yet stolen from stealing. Here we deal

here with a situation in which many ordinary people who politicize and/or empathize with January

6th see themselves as law abiding. Anyone with the desire to do so can – through video (broadcast

live, and subsequently) – accurately understand those events. But that is not where a segment of

this nation is, and many have apparently decided against seeking that understanding.

       Larry Dropkin is not running for political office. He is simply telling the truth. Larry’s

description of that day is yet another data point directly contrary to what is being purveyed by a

segment of our political class. The facts related by a person who supports former President Trump


5
          Here, the Government’s seeks 30 days incarceration, probation, community service, $500 in
restitution, and no fine. The excel sentencing outcome table provided by the Government to the Court in
this case lists scores of misdemeanor defendants who have been sentenced to some combination of
probation, home detention and community service. Those defendants were also required to pay $500 in
restitution and, at times, a modest fine of substantially below $10,000.
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and was there may not move anyone off a false narrative. But it might. And it should, regardless

of the sentence imposed.

        To Reflect the Seriousness of the Offense, Promote Respect for the Law,
                              and Provide Just Punishment


       We do not deny the seriousness of this offense, or Mr. Dropkin’s participation in
it.
       On the one hand, he went into the Capitol soon after the initial breach, stayed too long,

and while there wandered into places he should not have been.

       On the other, the PSR in this case and (1) the many hours of CCTV videos, (2) the many

other cases before this Court, and (3) the January 6th Commission’s hearings do, in combination,

generally provide a baseline for assessing the relative severity of Mr. Dropkin’s misconduct. Unlike

others, Mr. Dropkin did not destroy property. He did not engage in violence. He did not boast of

his participation or suggest that he had been “invited” into the Capitol by sympathetic police

officers. And - although highlighting it is a jarring reflection of our times - Mr. Dropkin’s decision

to not minimize his guilty plea or otherwise undercut our judicial system distinguishes him from

others who have appeared before various judges of this Court. Having plainly taken the wrong

road, Larry Dropkin has since dusted himself off and taken the right one. He is responsible for his

actions. He has not wasted prosecutorial or judicial resources. And he has told the truth.

       By any relative measure, he is in the low end of the misconduct of January 6th. For which

Mr. Dropkin has already paid a significant price.6

                       Protecting the public from further crimes by Mr. Dropkin

       Mr. Dropkin has plainly stated his accountability, and remorse, for his actions.          The

Government has, in effect, accepted those statements as true. So has the Probation Department.

Indeed, USPO Willett observes that:




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       See subsection “Cost,” infra.
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               it is noteworthy that the defendant’s specific conduct in this case

               [which did not involve acts of, or support for, violence against law

               enforcement and/or destruction of Capitol property]; his expressions

               of remorse; and his positive pretrial compliance, are factors which,

               considered both individually and collectively, suggest Mr. Dropkin is

               amenable to positive change.

PSR, par. 128 (italics added).

       USPO Willett is correct. Larry Dropkin is, in fact, amenable to positive change. It follows

that there is no reason to believe Mr. Dropkin will recommit.

       One reason why is the intersection of expectation and fact. Mr. Dropkin expected that his

door would be broken down by a swat team, he would be detained in a black site, be required to

dissipate his entire life savings to make bail, and then be sentenced by a biased judge sitting on

a politicized bench. What Mr. Dropkin has instead experienced is professionalism, courtesy, and

objectivity. In the event, his door was not broken down. There was no swat team. There was no

rendition. Mr. Dropkin self-surrendered and was immediately released on an ROR bond. He was

treated courteously and professionally by the FBI, Probation, two Magistrate Judges, and AUSA

Amore. He will now be sentenced by an apolitical court.

       As previously noted, Larry Dropkin does not wish to assist law enforcement prosecute

others whom he does not know, and whose specific circumstances are unknown to him. But he

has now experienced an unexpected reality. Larry Dropkin can no longer entertain the false

expectations described above, which reflect an inaccurate world view that played a role in his

decision to enter the Capitol.

       And there has been a sea change in how he will express his political views.

Request for Noncustodial Sentence

       Mr. Dropkin’s guidelines sentence of Zone A (0-6) is well supported by the many

misdemeanor sentences under Section 3553(a) imposing terms of probation/home detention/

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community service on similarly situated defendants. Under the facts and circumstances present

here, a noncustodial sentence imposing some combination of those three elements fully accounts

for both sides of the ledger; that is, a low end nonviolent January 6th offender who remained in the

Capitol too long, wandered too far, and has since meaningfully come to terms not only with our

system of justice but also with himself.

        We also request that if a either a fine or restitution is imposed, the amount be consistent

with those imposed on other similarly situated defendants.7


                                                 Respectfully Submitted,

                                                 s/ Andrew D. Leven
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         As of 3/24/22, the Government’s chart indicates that $500 in restitution has often been imposed,
with fines rarely levied and, when imposed, in no case exceeding $5,000.
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                             CERTIFICATE OF SERVICE

       On this 3rd day of October, 2022, a copy of the foregoing conformed Sentencing
Memorandum (having previously been provided to AUSA Amore and the Court as a letter brief)
was served upon all parties listed on the Electronic Case Filing (ECF) System.

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